
Catroh, Ch. J.
delivered the opinion of the court.
Money paid under a mistake of the facts, to one not entitled to receive it, and who has no claim in conscience to retain it, may be recovered back in assumpsit. 2 Stark. Ev. 112.
But we are of opinion that the money paid to the sher-\ iff for assessed taxes, although a part thereof could not be assessed under our constitution, cannot be recovered, especially after the sheriff had paid over the money to the treasury. From anything appearing, the payment by the plaintiff was voluntary, and with a knowledge of the law; certainly it was made with full knowledge of all the facts; and two of the members of this court are of opin ion, that money paid under a knowledge of all the facts, cannot be recovered on the ground that the plaintiff mistook the law. 2 Stark. Ev. 112. Slight circumstances have been permitted to take cases out of the rule, and *485justly; but no circumstances exist in this'instance to warrant a departure from it; and therefore the judgment of the circuit court must be affirmed.
Judgment affirmed.
